Case 6:24-bk-15031-SY Doc4 Filed 08/28/24 Entered 08/28/24 14:08:35 Desc
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6: 24-bk-/SO3)-.S'

FILED

AUG 28 2024 Certificate Number: 14751-CAC-CC-038807318

14751-CAC-CC-038807318

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CERTIFICATE OF COUNSELING

I CERTIFY that on August 26, 2024, at 9:33 o'clock PM PDT, MAXIMO A
ARRIOLA received from $$$$$$0$ BK Class, Inc., an agency approved pursuant
to 11 U.S.C. 111 to provide credit counseling in the Central District of California,
an individual [or group] briefing that complied with the provisions of 11 U.S.C.
109(h) and 111. . .

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: August 26, 2024 By: Is;AMEY AIONO

Name: AMEY AIONO

Title: Certified Credit Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
